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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF INDIANA
                            SOUTH BEND DIVISION

UNITED STATES OF AMERICA                           )
         Plaintiff,                                )
                                                   )
v.                                                 )      Case No.:     3:19-CR-47 RLM
                                                   )
EDWARD SCHAFER                                     )
        Defendant.                                 )


                             MOTION TO DISMISS
       Edward Schafer, by counsel, now moves to dismiss the Indictment and asserts

that the Indictment fails to state an offense in that it fails to allege that Mr. Schafer had

knowledge that he had previously been convicted of a crime punishable by a term of

imprisonment of more than one year at that point in time when he is alleged to have

possessed one or more firearms. See Rehaif v. United States, 139 S Ct. 2191 (2019).

Because the Indictment fails to state an offense against the United States, the Court

lacks jurisdiction to hear the case.

       If the Court grants this motion, Mr. Schafer requests that the Court order that he

remain on pretrial release until a new indictment is filed pursuant to F. R. Cr. P. 12(g).

Dated: August 14, 2019                     Respectfully submitted,

                                                   Federal Community Defenders, Inc.

                                           By:      s/ David E. Vandercoy
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                             CERTIFICATE OF SERVICE

       I hereby certify that on August 14, 2019 I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which sent notification of such filing to all
parties of record.

                                                  /s/ Allyson A. King, Paralegal
                                                  Northern District of Indiana
                                                  Federal Community Defenders, Inc.




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